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                         UNITED STATES DISTRICT COURT
                          for the District of New Jersey [LIVE]
                                       Trenton, NJ


 DONNA M. BIRD
                                   Plaintiff,
 v.                                             Case No.: 3:17−cv−13274−MAS−DEA
                                                Judge Michael A. Shipp
 PATTENBURG HOUSE, INC.
                                   Defendant.




                    Order For Dismissal Pursuant to L.Civ.R. 41.1(a)

    It appearing that the above captioned action having been pending for more than 90 days
 without any proceeding having been taken during this time and good cause having not
 been shown as to why this action should not be dismissed;
 IT IS on this 11th day of June, 2019,
 ORDERED that the above captioned action be and is hereby dismissed, pursuant to
 L.Civ.R. 41.1(a), without prejudice and without costs.




                    /s/ Michael A. Shipp
                    ____________________________________________________
                    MICHAEL A. SHIPP United States District Judge
